           Case 1:14-cr-00228-LJO-SKO Document 196 Filed 09/28/15 Page 1 of 2


                    C
 1 BEVERLY R. M CALLUM
                 c
   Beverly R. M Callum Law Firm PLLC
 2 Florida State Bar No. 639788
   3550 N.W. 24th Blvd. No. 202
 3
   Gainesville, FL 32605
 4 Telephone: 1-352-260-5907
   Facsimile: 1-888-533-2130
 5 brmlawfirm@yahoo.com

 6 Attorney for Defendant
   BREE ANN BENSON
 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                                     EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:14-CR-00228-LJO-SKO
11
                                    Plaintiff,            DEFENDANT BENSON’S UNOPPOSED MOTION
12                                                        TO MODIFY CONDITIONS OF RELEASE;
                             v.                           ORDER THEREON
13
     BREE ANN BENSON,
14
                                    Defendant.
15

16
            Defendant Bree Ann Benson, through her undersigned counsel, hereby requests that this Court
17
     modify her pretrial release conditions by allowing her to reside with her mother at an address known to
18
     the assigned U.S. Probation Officer, in Trinity, Florida. Defendant is currently out of custody on a
19
     $25,000 signature bond and conditions of release that include giving notice to her Probation Officer of
20
     any new address. Defendant’s mother recently signed a lease for a different Florida residence, which
21
     forced the Defendant to move to the aforementioned address. Prior to that relocation, the undersigned
22
     notified the assigned Assistant U.S. Attorney (“AUSA”), courtesy supervision officer in Florida, and
23
     assigned U.S. Probation Officer of the proposed relocation. Specifically, AUSA Grant Rabenn, assigned
24
     U.S. Probation Officer (“USPO”) Zaren Craddock of the Eastern District of California, and courtesy
25
     supervision Pretrial Services Officer Kadi Murray were consulted about the address change and the
26
     instant request for relief, and each informed the undersigned that they did not object to requested relief.
27
                                                          1
28
      DEFENDANT BENSON’S UNOPPOSED
      MOTION TO MODIFY CONDITIONS OF
      RELEASE; ORDER THEREON
30
           Case 1:14-cr-00228-LJO-SKO Document 196 Filed 09/28/15 Page 2 of 2


 1 However, USPO Craddock informed the undersigned that he preferred that the undersigned formally

 2 request modification of Defendant Benson’s release conditions to include the address change via the

 3 instant, unopposed motion. The requested modification of Defendant Benson’s conditions of release

 4 would leave in place sufficient conditions to ensure Defendant Benson’s appearance at future

 5 proceedings and to assuage any other concern pursuant to 18 U.S.C. § 3142.

 6

 7 DATED:           September 28, 2015                    /s/ Beverly R. McCallum
                                                          BEVERLY R. MCCALLUM, ESQ.
 8                                                        Attorney for Defendant
                                                          BREE ANN BENSON
 9

10

11                                                   ORDER
12      GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant Bree Ann Benson’s
13 conditions of pretrial release are modified to allow her to reside at the Trinity, Florida address approved

14 by United States Probation. All remaining conditions of Bree Ann Benson’s pretrial release shall remain

15 in full force and effect.

16

17 IT IS SO ORDERED.

18
        Dated:     September 28, 2015                        /s/ Barbara A. McAuliffe              _
19                                                     UNITED STATES MAGISTRATE JUDGE
20

21

22

23

24

25

26

27
                                                         2
28
      DEFENDANT BENSON’S UNOPPOSED
      MOTION TO MODIFY CONDITIONS OF
      RELEASE; ORDER THEREON
30
